        Case 3:12-cr-00341-DRD                    Document 162             Filed 06/27/12           Page 1 of 6



                               IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,
                                                                             CRIMINAL NO. 12-341 (DRD)
         Plaintiff
         v.
JUAN MARRERO [2],

         Defendant.

                MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                     RE: RULE 11(c)(1)(B) GUILTY PLEA HEARING

I.       Procedural Background
         On April 26, 2012, defendant Juan Marrero was charged in a multi-count indictment. He
agrees to plead guilty to Count One.
         Count One charges that Mr. Marrero, from around August 2010 to May 2011, did knowingly
and willfully conspire and agree to commit an offense against the United States, that is, devising a
scheme and artifice to defraud federally insured financial institutions, and to obtain moneys and
funds owned by or under the control of such institution, by means of false and fraudulent promises,
pretenses, and representations, all in violation of 18 U.S.C. §§ 1344 and 1349.
         Defendant appeared before me on June 20, 2012, assisted by the court interpreter, since the
Rule 11 hearing was referred by the court. See United States v. Woodard, 387 F.3d 1329 (11th Cir.
2004) (magistrate judge had authority to conduct Rule 11 guilty plea hearing with consent of
defendant). He was advised of the purpose of the hearing and placed under oath with instructions
that his answers must be truthful lest he would subject himself to possible charges of perjury or
making a false statement.
II.      Consent to Proceed Before a Magistrate Judge
         Defendant was provided with a Waiver of Right to Trial by Jury form, which he signed.1 He
confirmed that his attorney explained and translated the document before he signed it. He was



         1
            The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading Guilty
(Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made part of the record.
       Case 3:12-cr-00341-DRD            Document 162         Filed 06/27/12      Page 2 of 6


USA v. Juan Marrero [2]                                                                           Page 2
Cr. 12-341 (DRD)
REPORT AND RECOMMENDATION ON GUILTY PLEA

advised of his right to hold all proceedings, including the change of plea hearing, before a district
court judge. He received an explanation of the differences between the scope of jurisdiction and
functions of a district judge and a magistrate judge. He was informed that if he elects to proceed
before a magistrate judge, then the magistrate judge will conduct the hearing and prepare a report
and recommendation, subject to review and approval of the district judge. The defendant then
voluntarily consented to proceed before a magistrate judge.
III.   Proceedings Under Rule 11 of the Federal Rules of Criminal Procedure
       Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of guilty pleas
to federal criminal violations. Pursuant to Rule 11, in order for a plea of guilty to constitute a valid
waiver of the defendant’s right to trial, the guilty plea must be knowing and voluntary. United States
v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999). “Rule 11 was intended to ensure that a
defendant who pleads guilty does so with an ‘understanding of the nature of the charge and
consequences of his plea.’” United States v. Cotal-Crespo, 47 F3d 1, 4 (1st Cir. 1995) (quoting
McCarthy v. United States, 394 U.S. 459, 467 (1969)). There are three core concerns in a Rule 11
proceeding: 1) absence of coercion; 2) understanding of the charges; and 3) knowledge of the
consequences of the guilty plea. Cotal-Crespo, 47 F3d at 4 (citing United States v. Allard, 926 F2d
1237, 1244 (1st Cir. 1991)).
       A.       Competence to Enter a Guilty Plea
       This magistrate judge questioned the defendant about his age, education, employment,
history of any treatment for mental illness or addiction, use of any medication, drugs, or alcohol,
and his understanding of the purpose of the hearing, all in order to ascertain his capacity to
understand, answer and comprehend the change of plea colloquy. The court confirmed that the
defendant received the indictment and fully discussed the charges with his counsel, and was satisfied
with the advice and representation he received. The court further inquired whether defendant’s
counsel or counsel for the government had any doubt as to his capacity to plead, receiving answers
from both that the defendant was competent to enter a plea. After considering the defendant’s
          Case 3:12-cr-00341-DRD         Document 162        Filed 06/27/12      Page 3 of 6



USA v. Juan Marrero [2]                                                                         Page 3
Cr. 12-341 (DRD)
REPORT AND RECOMMENDATION ON GUILTY PLEA

responses, and observing his demeanor, a finding was made that Mr. Marrero was competent to
plead and fully aware of the purpose of the hearing.
          B.     Maximum Penalties
          Upon questioning, the defendant expressed his understanding of the maximum penalties
prescribed by statute for the offense to which he was pleading guilty, namely: a term of
imprisonment of not more than thirty years, and a fine of not more than $1,000,000.00, and a term
of supervised release of not more than five years. The court will also impose a Special Monetary
Assessment of $100.00 to be deposited in the Crime Victim Fund, pursuant to Title 18, United States
Code, §3013(a). The court explained the nature of supervised release and the consequences of
revocation. The defendant indicated that he understood the maximum penalties and the potential
consequences of the guilty plea.
          C.     Plea Agreement
          Mr. Marrero was shown the documents titled “Plea and Forfeiture Agreement” and “Plea
Agreement Supplement” (together “Plea Agreement”), which are part of the record, and identified
his initials and signatures. He confirmed that he had the opportunity to read and discuss the Plea
Agreement with his attorney before he signed it, that his attorney explained and translated it to him,
that it represented the entirety of his understanding with the government, that he understood its
terms, and that no one had made any other or different promises or assurances to induce him to plead
guilty.
          The defendant was then admonished, pursuant to Fed. R. Crim. P. 11(c)(1)(B), and expressed
his understanding, that the terms of the plea agreement are merely recommendations to the court,
and that the district judge who will preside over the sentencing hearing can reject the
recommendation without permitting the defendant withdraw his guilty plea, and impose a sentence
that is more severe than the defendant might anticipate.
          The parties’ sentencing calculations and recommendations appear in the Plea Agreement and
were explained in open court. The defendant confirmed that these were the sentencing
          Case 3:12-cr-00341-DRD           Document 162         Filed 06/27/12      Page 4 of 6



USA v. Juan Marrero [2]                                                                             Page 4
Cr. 12-341 (DRD)
REPORT AND RECOMMENDATION ON GUILTY PLEA

recommendations he agreed to with the government. The defendant was specifically informed that
the sentencing calculations contained in the Plea Agreement were not binding for the sentencing
court, but were only estimates of possible terms of his sentence, and that the court, after considering
the applicable Sentencing Guidelines, could impose a sentence different from any estimate in the
Plea Agreement or provided by his attorney, and that the court had authority to impose a sentence
that is more severe or less severe than the sentence called for by the Sentencing Guidelines. The
defendant was advised, and understood, that the Sentencing Guidelines are no longer mandatory and
are thus considered advisory, and that during sentencing the court will consider the sentencing
criteria found at 18, United States Code, Section 3553(a).
          The defendant was advised that under some circumstances he or the government may have
the right to appeal the sentence the court imposes. The defendant was further informed, and
professed to understand, that the Plea Agreement contains a waiver of appeal provision under which
the defendant agrees to waive his right to appeal the judgement and sentence if the court accepts the
Plea Agreement and sentences him according to its terms and conditions.
          D.      Waiver of Constitutional Rights
          The defendant was specifically advised that he has the right to persist in a plea of not guilty,
and if he does so persist that he has the right to a speedy and public trial by jury, or before a judge
sitting without a jury if the court and the government so agree; that at trial he would be presumed
innocent and the government would have to prove his guilt beyond a reasonable doubt; that he
would have the right to assistance of counsel for his defense, and if he could not afford an attorney
the court would appoint one to represent him throughout all stages of the proceedings; that at trial
he would have the right to hear and cross examine the government’s witnesses, the right to decline
to testify unless he voluntarily elected to do so, and the right to the issuance of subpoenas or
compulsory process to compel the attendance of witnesses to testify on his behalf. He was further
informed that if he decided not to testify or put on evidence at trial, his failure to do so could not be
used against him, and that at trial the jury must return a unanimous verdict before he could be found
guilty.
         Case 3:12-cr-00341-DRD           Document 162         Filed 06/27/12       Page 5 of 6



USA v. Juan Marrero [2]                                                                            Page 5
Cr. 12-341 (DRD)
REPORT AND RECOMMENDATION ON GUILTY PLEA

         The defendant specifically acknowledged understanding these rights, and understanding that
by entering a plea of guilty there would be no trial and he will be waiving or giving up the rights that
the court explained. The defendant was informed that parole has been abolished and that any
sentence of imprisonment must be served. Defendant was additionally informed that a pre-sentence
report would be prepared and considered by the district judge at sentencing. Defendant was further
admonished that his guilty plea, if accepted, may deprive him of valuable civil rights, such as the right
to vote, to hold public office, to serve on a jury, and to possess a firearm. The defendant confirmed that

he understood these consequences of his guilty plea.

         E.     Factual Basis for the Guilty Plea
         The court explained Count One of the indictment in open court and explained the elements
of the offense and the meaning of terms used in the indictment.
         Upon questioning, the government presented to this magistrate judge and to defendant a
summary of the basis in fact for the offense charged in Count One and the evidence the government
had available to establish, in the event defendant elected to go to trial, the defendant’s guilt beyond
a reasonable doubt. The defendant was able to understand this explanation and agreed with and
admitted to the government’s submission as to the evidence which could have been presented at
trial.
         F.     Voluntariness
         The defendant indicated that he was not being induced to plead guilty, but was entering such
a plea freely and voluntarily because in fact he is guilty, and that no one had threatened him or
offered a thing of value in exchange for his plea. He acknowledged that no one had made any
different or other promises in exchange for his guilty plea, other than the recommendations set forth
in the Plea Agreement. Throughout the hearing defendant was able to consult with his attorney.
IV.      Conclusion
         The defendant, by consent, appeared before me pursuant to Rule 11 of the Federal Rules of
Criminal Procedure, and entered a plea of guilty as to Count One of the indictment.
       Case 3:12-cr-00341-DRD            Document 162         Filed 06/27/12      Page 6 of 6



USA v. Juan Marrero [2]                                                                           Page 6
Cr. 12-341 (DRD)
REPORT AND RECOMMENDATION ON GUILTY PLEA

       After cautioning and examining the defendant under oath and in open court concerning each
of the subject matters mentioned in Rule 11, I find that the defendant, Juan Marrero, is competent
to enter this guilty plea, is aware of the nature of the offense charged and the maximum statutory
penalties that it carries, understands that the charge is supported by evidence and a basis in fact, has
admitted to the elements of the offense, and has done so in an intelligent and voluntary manner with
full knowledge of the consequences of his guilty plea. Therefore, I recommend that the court accept
the guilty plea and that the defendant be adjudged guilty as to Count One of the indictment.
       This report and recommendation is filed pursuant to 28 U.S.C. §636(b)(1)(B) and Rule 72(d)
of the Local Rules of this Court. Any objections to the same must be specific and must be filed with
the Clerk of Court within fourteen (14) days of its receipt.       Failure to file timely and specific
objections to the report and recommendation is a waiver of the right to review by the district court.
United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
       A sentencing hearing has been set for October 19, 2012 at 9:00 a.m. before District
Judge Daniel Dominguez.
       IT IS SO RECOMMENDED.
       In San Juan, Puerto Rico, this 20th day of June, 2012.


                                                       S/ Bruce J. McGiverin
                                                       BRUCE J. McGIVERIN
                                                       United States Magistrate Judge
